     Case 2:22-mj-30434-DUTY ECF No. 1, PageID.1 Filed 10/11/22 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff

v.                                              Case No. 22-30434
                                                Originating No. 22MJ00644

VIOREL PRICOP,


                Defendant.
_____________________________________/

                          GOVERNMENT’S PETITION
                      FOR TRANSFER OF DEFENDANT TO
                   ANOTHER DISTRICT AND SUPPORTING BRIEF


       Pursuant to Rule 5(c)(3)(D) of the Federal Rules of Criminal Procedure, the

United States of America hereby petitions the Court for an order transferring defendant

VIOREL PRICOP, to answer to charges pending in another federal district,

and states:

       1. On October 11, 2022, defendant was arrested in the Eastern District

Michigan in connection with a federal arrest warrant issued in the Central District of

California based on a Complaint. Defendant is charged in that district with

violations of 18 USC 844(i) – Arson of Property in Interstate Commerce.


       2. Rule 5 requires this Court to determine whether defendant is the person

named in the arrest warrant and is entitled to a preliminary examination as described in

Paragraph One above. See Fed. R. Crim. P. 5(c)(3)(D)(ii).
   Case 2:22-mj-30434-DUTY ECF No. 1, PageID.2 Filed 10/11/22 Page 2 of 2




      WHEREFORE, the government requests this Court to conduct transfer

proceedings in accordance with Rule 5 of the Federal Rules of Criminal Procedure.


                                              Respectfully submitted,

                                              DAWN N. ISON
                                              United States Attorney


                                              s/Craig Wininger
                                              CRAIG WININGER
                                              Assistant U.S. Attorney
                                              211 W. Fort Street, Suite 2001
                                              Detroit, MI 48226
                                              (313) 226-9100

Dated: October 11, 2022
